                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

ANDREW L. COLBORN,
                              Plaintiff
v.

NETFLIX, INC., et al.,                                               Case No. 19-CV-484
                        Defendants.
______________________________________________________________________________

               DECLARATION OF APRIL ROCKSTEAD BARKER
______________________________________________________________________________

STATE OF WISCONSIN                    )
                                      ) SS
COUNTY OF WAUKESHA )


       April Rockstead Barker, being first duly sworn on oath, deposes and says:

       1.      I am one of the attorneys for Plaintiff in the above matter. This Declaration is

submitted in support of Plaintiff’s motions opposing summary judgement.

       2.      Attached as Exhibit 1 are excerpts of documents and emails produced by

Defendant Netflix during the course of this litigation that were also marked in the deposition of

Lisa Nishamura in exhibits 5 – 10 that begin with the prefix NFXCOL. Portions are redacted to

protect confidential information and privacy.

       3.      Attached as Exhibit 2 are excerpts of documents and emails produced by Mary

Manhardt and identified during her deposition in exhibits 64 and 68. Portions are redacted to

protect confidential information and privacy.




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       4.      Exhibit 3 is a comparison video of showing raw footage produced by defendants

labeled CHRM 867 14:35 – 15:08 vs. Episode 5 Dkt. 120-5 at 55:31 –55:54. This exhibit has

been sent via Federal Express to the Court.

       5.      Exhibit 4 is a comparison video of showing raw footage produced by defendants

labeled CHRM 868 7:10 – 7:20 vs. Episode 7 Dkt. 120-7 at 24:20 – 24:30. This was produced as

exhibit 47 in deposition. This exhibit has been sent via Federal Express to the Court.

       6.      Exhibit 5 are several videos of raw footage as identified below. This exhibit has

been sent via Federal Express to the Court.

               Ex. 5A Chrome # 864 14:45 – 14:55 (10 seconds)
               Ex. 5B Chrome # 866 5:54 – 6:00 (6 seconds)
               Ex. 5C Chrome # 866 7:10 – 7:25 (15 seconds)
               Ex. 5D Chrome # 866 10:58 – 11:08 (10 seconds)
               Ex. 5E Chrome # 867 29:40 -30:21 (41 seconds)
               Ex. 5F Chrome # 867 31:00 – 31:17 (17 seconds)

       7.      Attached as Exhibit 6 are documents and emails produced by the defendants

Ricciardi, Demos and Chrome with the prefix CHRM. CHRM 588, 395-397.

       8.      Attached as Exhibit 7 is a true and correct copy of an excerpted transcript of Jury

Trial – Day 8, State of WI v. Steven Avery (Case No.: 05 CF 381) dated February 21, 2007.

       9.      Attached as Exhibit 8 is a true and correct copy of an excerpted transcript of Jury

Trial – Day 21, State of WI v. Steven Avery (Case No.: 05 CF 381) dated February 21, 2007.

       10.     Attached as Exhibit 9 is a true and correct copy of excerpts of the deposition of

Laura Ricciardi.

       11.     Attached as Exhibit 10 is a true and correct copy of excerpts of the deposition of

Moira Demos.




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       12.     Attached as Exhibit 11 is a true and correct copy of an excerpted transcript of Jury

Trial – Day 24, State of WI v. Steven Avery (Case No.: 05 CF 381) dated March 15, 2007.

       13.     Attached as Exhibit 12 is a true and correct copy of an excerpts of the deposition

transcript of former Sheriff Kenneth Peterson.

       14.     Attached as Exhibit 13 is a true and correct copy of excerpts from the deposition

testimony of Mary Manhardt.

       15.     Attached as Exhibit 14 is a true and correct copy of excerpts from the deposition

testimony of Andy Colborn.

       16.     Attached as Exhibit 15 is a true and correct copy of excerpts from the deposition

testimony of Lisa Nishamura.

       17.     Attached as Exhibit 16 is a true and correct copy of excerpts from the deposition

testimony of Adam Del Deo.

       18.     Attached as Exhibit 17 is a true and correct copy of the transcript of Jury Trial –

Day 23, State of WI v. Steven Avery (Case No. 05 CF 381) dated March 14, 2007 including the

beginning of closing arguments.

       19.     Attached as Exhibit 18 is a true and correct copy of the transcript of Jury Trial –

Day 24, State of WI v. Steven Avery (Case No. 05 CF 381) dated March 15, 2007 including the

closing arguments.

       20.     Attached as Exhibit 19 is a true and correct copy of Exhibit 62 to the deposition of

Moira Demos.

       21.     Attached as Exhibit 20 are Defendants Ricciardi, Demos and Chrome’s Response

to Plaintiff’s Sixth Request for Production of Documents




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          22.    Attached as Exhibit 21 are excerpts of the Licensing Agreement between Netflix

and Synthesis.




                                             _s/April Rockstead Barker_________________
                                             April Rockstead. Barker
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